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                           UNITED STATES DISTRICT COURT
                           SOUTH ERN DISTRICT OF FLORIDA

                              CASE NO .10-80149-CR-M ARRA

  UNITED STATES OF AM ERICA




  JACOBO DRESZER ,M .D.,

                       Defendant.
                                          /

                                   O RDER OF DISM ISSAL
          PttrsuanttoRule48(a)oftheFederalRulesofCriminalProcedureand by leaveofCourt
   endorsed hereon,thcUnited StatesAttomey forthe Southem DistrictofFlorida herebydismisses

   with prejudicethe chargessetforth againsttheabove named defendant. Thegovenzmentisin
   possessionofadeath certificateretlecting thatthedefendantdiedon December19,2011in M iami-

   Dade Cotmty,Florida.
                                                    Respectfully subm itted,

                                                      e- ee       .       v



                                                     W IFRED A.FERRER
                                                     UNITED STATES ATTORN EY

    cc:   U.S.Attorney(LawrenceD.Lavecchio,AUSA)
          U.S.M arshal
          ChiefProbation Officer
          PretrialServices

    Leave ofCourtisgranted forthe filing ofthe foregoing Dism issal.



    DATE: < /,,/zw
                                              KE> ETH A.M ARRA
                                              UNITED STATES DISTRICT JUDGE
